                                  Case 19-16976-AJC                  Doc 1        Filed 05/28/19           Page 1 of 28

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                America-CV Network, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  13001 N.W. 107th Avenue
                                  Hialeah, FL 33018
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 19-16976-AJC                 Doc 1        Filed 05/28/19            Page 2 of 28
Debtor    America-CV Network, LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                               Case number
                                                  District                                 When                               Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                               Relationship
                                                  District                                 When                           Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                Case 19-16976-AJC                      Doc 1      Filed 05/28/19             Page 3 of 28
Debtor   America-CV Network, LLC                                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 19-16976-AJC                   Doc 1        Filed 05/28/19             Page 4 of 28
Debtor    America-CV Network, LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 28, 2019
                                                  MM / DD / YYYY


                             X   /s/ Carlos Vasallo                                                       Carlos Vasallo
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Representative




18. Signature of attorney    X   /s/ Paul J. Battista                                                      Date May 28, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul J. Battista 884162
                                 Printed name

                                 Genovese Joblove & Battista, P.A.
                                 Firm name

                                 100 S.E. 2nd Street
                                 44th Floor
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-349-2300                  Email address


                                 884162 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                  Case 19-16976-AJC                Doc 1       Filed 05/28/19            Page 5 of 28
Debtor     America-CV Network, LLC                                                          Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     America-CV Station Group, Inc.                                          Relationship to you               Affiliate
District   Southern District of Florida               When     5/14/19             Case number, if known             19-16355-BKC-AJC
Debtor     Caribevision Holdings, Inc.                                             Relationship to you               Affiliate
District   Southern District of Florida               When     5/14/19             Case number, if known             19-16359-BKC-AJC
Debtor     Caribevision TV Network, LLC                                            Relationship to you               Parent
District   Southern District of Florida               When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 5
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 6 of 28
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 7 of 28
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 8 of 28
                                     Case 19-16976-AJC                   Doc 1        Filed 05/28/19   Page 9 of 28




                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      America-CV Network, LLC                                                                      Case No.
                                                                                  Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Representative of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       May 28, 2019                                              /s/ Carlos Vasallo
                                                                       Carlos Vasallo/Authorized Representative
                                                                       Signer/Title




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    Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 10 of 28


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            AC NIELSEN CORPORATION
            PO Box 88961
            Chicago, IL 60695-8961


            AMERICA-CV STATION GROUP, INC.
            13001 NW 107th Ave.
            Hialeah Gardens, FL 33018


            American Express
            P.O. Box 650448
            Dallas, TX 75265-0448


            AMERICAN FIRE SPRINKLER SERVICES, INC.
            3371 NW 154th Terrace
            Miami Gardens, FL 33054


            AMERICAN METEOROLOGICAL SOCIETY
            45 Beacon ST
            Boston, MA 02108-3693


            AMERICAN TOWER CORP.
            29637 Network Place
            Chicago, IL 60673-1296


            AT & T
            P.O. Box 105262
            Atlanta, GA 30348-5262


            AT & T PRO - CABS
            P.O. Box 105373
            Atlanta, GA 30348


            AT & T.
            P.O. BOX 5019
            CAROL STREAM, IL 60197-5019


            ATCI
            4050 N McKemy AV
            Chandler, AZ 85226


            ATLANTIC BROADBAND
            PO BOX 371801
            PITTSBURGH, PA 15250-7801
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 11 of 28



        AVAYA FINANCIAL SERVICES
        CIT
        21146 Network Place
        Chicago, IL 60673-1211


        AVID FINANCIAL SERVICES
        PO BOX 740425
        ATLANTA, GA 30374-0425


        B&H PHOTO-VIDEO INC
        PO BOX 8698
        New York, NY 10116-8698


        Banc of America Leasing & Capital, LLC
        135 S. LaSalle Street
        IL4-135-10-61
        Chicago, IL 60603


        Banc of California, N.,A.
        18500 Von Karman Ave.
        Suite 1100
        Irvine, CA 92612


        Banco de Sabadell S.A.
        1111 Brickell Ave.
        30th Floor
        Miami, FL 33131


        BARBARA A. GUERRA
        174 Long Key Road
        Key Largo, FL 33037


        BEERS ENTERPRISES INCORPORATED
        DBA THE SWITCH
        P.O. BOX 12018
        Lewiston, ME 04243-9494


        BERKOWITZ POLLACK BRANT
        200 South Biscayne Blvd
        6th & 7th Floor
        Miami, FL 33131-5351


        BIRCH COMMUNICATIONS
        P.O. Box 105066
        Atlanta, GA 30348-5066
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 12 of 28



        BMI BROADCAST MUSIC INC.
        P.O. Box 630893
        Cincinnati, OH 45263-0893


        Borinquen Communication Inc.
        Car 824 Km 7.2 Bo
        Qda Cruz Sector Los Perez
        Toa Alta, PR 00954


        BROADCAST DEPOT CORP.
        7782 NW 46 Street
        Miami, FL 33166


        CAPITAL ONE COMMERCIAL
        PO BOX 5219
        CAROL STREAM, IL 60197-5219


        CAR AUTO REPAIR
        13117 NW 107th Ave
        HIALEAH GARDENS, FL 33018


        Caribbean Power Industries, Corp.
        478 Fernando Calder
        Urb Roosevelt
        San Juan, PR 00918


        CARMEN D. RODRIGUEZ
        10330 SW 50 Terrace
        Miami, FL 33165


        CARTA AUTO REPAIR
        13117 NW 107TH AVE
        HIALEAH GARDENS, FL 33018


        CBS BROADCAST INTERNATIONAL
        P.O. Box 30656
        New York, NY 10087-0656


        CENTURYLINK COMMUNICATIONS
        BUSINESS SERVICES
        P.O. BOX 52187
        Phoenix, AZ 85072-2187
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 13 of 28



        Chubb & Son
        PO Box 382001
        Pittsburgh, PA 15250-8001


        City of Hialeah Gardens
        10001 NW 87th Ave.
        Hialeah Gardens, FL 33016


        COFFEY BURLINGTON
        2601 South Bayshore DR.
        Penthouse 1
        Miami, FL 33133


        COLONIAL LIFE
        P.O. Box 903
        Columbia, SC 29202-0903


        COMCAST
        ATTN: John Dickinson
        1010 Kennedy Dr
        Suite 200
        Key West, FL 33040


        COMCAST ABB NETWORK SOLUTIONS, INC.
        PO BOX 37601
        Philadelphia, PA 19101-0601


        COMCAST CABLE
        PO BOX 71211
        Charlotte, NC 28272-1211


        COMPUTER FORENSICS LLC
        8461 Lake Worth Road
        Suite 233G
        Lake Worth, FL 33467


        CORPORACION RADIO TV ESPANOLA S.A.
        Edificio Prado el Rey Avda. Radiotelevis
        Prado del Rey 28223
        Pozuelo de Alarcon, Madrid Espa a


        CRIM
        PO Box 195387
        San Juan, PR 00919-5387
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 14 of 28



        DADE ELEVATOR INSPECTORS
        P.O. Box 558396
        Miami, FL 33255


        DAIOHS USA, INC.
        12255 SW 128th St
        Suite 410
        Miami, FL 33186


        DAISY M. LEON
        1971 Bay Drive
        Apt # 2
        Miami Beach, FL 33141


        DANIARY SUBIRATS
        14304 SW 163rd Terrace
        Miami, FL 33177


        DANITZA A PEREZ
        660 SW 57 AVE
        #23
        Miami, FL 33144


        DAVID ESTRELLA P.A.
        55 Merrick Way
        Suite 210
        Coral Gables, FL 33015


        DAVID M. ROGERO P.A.
        2625 Ponce de Leon Boulevard
        Suite 280
        Coral Gables, FL 33134


        Delaware Division of Revenue
        Bankruptcy Services
        Carvel State Office Buiding
        8th Floor
        Wilmington, DE 19801


        DELL FINANCIAL SERVICES
        PO BOX 5292
        CAROL STREAM, IL 60197-5292


        DIEGO GASTON BAS
        939 SW 154 Path
        Miami, FL 33194
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 15 of 28



        DIELECTRIC
        22 Tower RD
        Raymond, ME 04071


        DIRECT CAPITAL CORP
        155 Commerce Way
        Portsmouth, NH 03801


        DIRECT CAPITAL CORPORATION
        P.O. Box 790448
        St. Louis, MO 63179-0448


        DOLORES HERNANDEZ
        900 W. 74 STREET
        #103
        HIALEAH, FL 33014


        DORTA & ORTEGA P.A.
        3860 SW 8th Street
        PH
        Coral Gables, FL 33134


        DOS AL CUBO LLC
        1000 Brickell Avenue
        Suite 1020
        Miami, FL 33131


        ECUATRONIX USA INC.
        12930 SW 128th Street
        Suite 204
        Unit A1
        Miami, FL 33186


        EMPIRE STATE BUILDING CO.LLC
        P.O. Box 347606
        Pittsburgh, PA 15251-4606


        ENLIGHTEN DIGITAL LLC
        4403 Vineland Road
        Suite B6
        Orlando, FL 32811
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 16 of 28



        ESRT Empire State Building, LLC
        Attn: Maribel Diaz, Esq.
        Behar, Gutt & Glazer, P.A.
        1855 Griffin Rd., Ste A-350
        Ft Lauderdale, FL 33004


        ESTRELLA ZAYAS BAZAN
        3914S SW 154 PL
        Miami, FL 33185


        Eugenia Maria Penichet
        2450 SW 62 AVE
        Miami, FL 33155


        Federal Communications Commission
        445 12th St SW
        Washington, DC 20554


        FEDERAL EXPRESS
        P.O. Box 660481
        Dallas, TX 75266-0481


        Financial Agent Services
        PO Box 2576
        Springfield, IL 62708


        First Flash Janitorial Services Inc.
        6705 SW 44th St
        #24
        Miami, FL 33155


        FLETCHER HEALD & HILDRETH PLC
        1300 NORTH 17TH ST
        11TH FLOOR
        ARLINGTON, VA 22209


        Fletcher, Heald & Hildreth, PLC
        Attn: Francisco R. Montero, Esq.
        1300 North 17th Street
        11th Floor
        Arlington, VA 22209


        Florida Department of Revenue
        Bankruptcy Unit
        PO Box 6668
        Tallahassee, FL 32314-6668
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 17 of 28



        FPI SECURITY SERVICES INC.
        P.O.BOX 126356
        HIALEAH, FL 33012-1605


        FRANCISCO FRAMIL
        10941 NW 16th Street
        Pembroke Pines, FL 33026


        FRANCISCO RODRIGUEZ
        502 SW 18TH AVE
        APT 306
        MIAMI, FL 33135


        FUENTES-HUDSON & ASSOCIATES INC
        13822 SW 83 Avenue
        Miami, FL 33158


        GERD RIEGER
        GERD
        8421 SW 202 ST
        Cutler Bay, FL 33189


        GESTEVISION TELECINCO S.A.
        Ctra. Fuencarral-Alcobendas 4
        28049
        Madrid, Espana


        GETTYIMAGES
        PO BOX 84434
        Seattle, WA 98124-5734


        GINA A. GOLDEN
        115-111
        230 Street
        CAMBRIA HEIGHTS, NY 11411


        GINA HAZEL GARCIA
        581 NE 199 Terrace
        Miami, FL 33179


        GLASAT.COM L.L.C.
        510 SW 51 AVE
        MIAMI, FL 33134
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 18 of 28



        GLOBO INTERNATIONAL COMPANY LIMITED
        SANDRIGHAM HOUSE
        SHIRLEY STREET 83
        NASSAU, BAHAMAS


        GORGY RECYCLING ROLL-OFF SERVICES
        3500 NW 62 Street
        Miami, FL 33147


        GTT AMERICAS LLCP
        P.O. Box 842630
        Dallas, TX 75284-2630


        HECTOR R. LLORENS
        10843 SW 75th TERRACE
        Miami, FL 33173


        HELOISA LOPES DE OLIVERA ALVES
        100 Golden Isles DR
        909
        Hallandale Beach, FL 33009


        HIALEAH GARDENS POLICE DEPARTMENT
        10301 NW 87th Avenue
        Hialeah, FL 33016


        HLB GRAVIER LLP
        396 Alhambra Circle
        Suite 900
        Coral Gables, FL 33134


        HOME DEPOT
        Dept 32-2502483823
        P.O. Box 9055
        Des Moines, IA 50368-9055


        HUGO PASSARELLO LUNA
        57 Avenue Pasteur
        Montreuil, FR 93100


        HUGO S. HERRERA
        18435 NW 10th St
        Pembroke Pines, FL 33029
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 19 of 28



        Humana Health Insurance of FL
        PO Box 3277
        Milwaukee, WI 53201


        HYDER SAWANI
        3900 SW 186 Way
        Miramar, FL 33029


        IGT MEDIA HOLDINGS INC.
        21 SE 1st Avenue
        Miami, FL 33131


        IMAGINE COMMUNICATIONS
        PO Box 732107
        Dallas, TX 75373-2107


        INNOVATIVE SERVICE TECHNOLOGY MANAGEMENT
        934 Glenwood Avenue
        Suite 250
        Atlanta, GA 30316-1816


        INTEGRATED SECURITY SYSTEMS
        1876 NW 7 ST
        MIAMI, FL 33125


        Internal Revenue Service
        Centralized Insolvency Operation
        PO Box 7346
        Philadelphia, PA 19101-7346


        INTERNATIONAL BUSINESS MACHINES CORP
        P.O. Box 534151
        Atlanta, GA 30353-4151


        INTERNATIONAL COMMERCIAL BUSINESS RECOVE
        401 Congress Avenue
        Suite 1540
        Austin, TX 78701


        International Electronic Enterprises, In
        110 Agate Ave.
        Newport Beach, CA 92662
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 20 of 28



        INTRACOASTAL YACHT CLUB
        Att: Community Manager
        16900 N. Bay Road
        Sunny Isles, FL 33160


        IPFS CORPORATION
        P.O. BOX 730223
        Dallas, TX 75373-0223


        JACQUELINE SANABRIA
        14821 SW 18 ST
        MIRAMAR, FL 33027


        JORGE M. ABRIL P.A.
        1221 SW 27th Avenue
        2nd Floor
        Miami, FL 33135


        JOSE J RAMON
        947 NW 135 CT
        MIAMI, FL 33182


        JUAN ANGEL FINA
        3220 SW 84 Ave
        Miami, FL 33155


        JUAN M. CAO
        4419 SW 11TH STREET
        MIAMI, FL 33134


        KESSLER AND GEHMAN ASSOCIATES INC.
        507 NW 60th Street
        Suite D
        Gainesville, FL 32607


        L-3 COMMUNICATIONS CORP
        22312 Network Place
        Chicago, IL 60673-1223


        LAW OFFICE OF JACK N GOODMAN
        1200 New Hampshire Ave
        NW Suite 800
        Washington, DC 20036
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 21 of 28



        LAW OFFICES HOLLAND & KNIGHT LLP
        P.O. BOX 864084
        ORLANDO, FL 32886-4084


        Lease Corporation of America
        3150 Livernois Rd.
        Suite 300
        Troy, MI 48083


        LIKE SPECTRUM LLC
        90 Bow Street East
        East Greenwich, RI 02818


        Loud & Live, Inc.
        2301 NW 87th Ave.
        Miami, FL 33172


        MARCELL FELIPE P.A.
        1001 Brickell Bay Dr
        Suite 1504
        Miami, FL 33131


        Marcell Felipe, Esq.
        1001 Brickell Bay Dr.
        Suite 1504
        Miami, FL 33131


        MARIA CONSUELO HERNANDEZ
        3470 SW 27TH ST
        MIAMI, FL 33133


        MARIA L. GONZALEZ
        3464 N. Meridian Ave
        Miami Beach, FL 33140


        MATOS DORIS
        1643 SW 67 AVE
        Apt 3
        MIAMI, FL 33155


        MIAMI BANNERS & SIGNS
        7250 NW 8 Street
        Suite 1
        Miami, FL 33126
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 22 of 28



        MIAMI JANITORIAL SUPPLIES, INC.
        10651 NW 132nd St.
        Bay 3
        `
        HIALEAH GARDENS, FL 33018


        MIAMI-DADE COUNTY AUTO TAG AGENCY
        PO BOX 012131
        Miami, FL 33101-2131


        Miami-Dade County Tax Collector
        Bankruptcy Paralegal Unit
        200 NW 2nd Ave.
        Suite 430
        Miami, FL 33128


        MIAMI-DADE FIRE RESCUE DEPARTMENT
        Finance Bureau
        9300 NW 41st St
        Miami, FL 33178-2414


        MILEIDYS RIZO
        10931 SW 146 Ave
        Miami, FL 33186


        MONICA PASQUALOTTO LLC
        10275 Collins Avenue
        Apt 420
        Bal Harbour, FL 33154


        MOUNTAIN VALLEY WATER CO.
        P.O BOX 660070
        MIAMI SPRINGS, FL 33266


        MUNDO TV LLC
        P.O. Box 740777
        Los Angeles, CA 90074-0777


        MUNDOFOX BROADCASTING LLC
        62981 Collecton Center Dr.
        Chicago, IL 60653-0628


        NATIONAL ECONOMIC RESEARCH ASSOCIATES
        P.O. Box 7247-6754
        Philadelphia, PA 19170-6754
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 23 of 28



        NIELSEN MEDIA RESEARCH
        P.O. Box # 532453
        Charlotte, NC 28290-2453


        OLGA PELAEZ
        6271 NW 199 ST
        HIALEAH, FL 33015


        Oracle Credit Corporation
        500 Oracle Parkway
        Redwood City, CA 94065


        ORLY GROUP, INC.
        13001 NW 107th Ave.
        HIALEAH GARDENS, FL 33018


        P & P PRODUCTIONS GROUP INC.
        8886 W FLAGLER ST
        APT 101
        MIAMI, FL 33174


        PEDRO R. SEVCEC
        11825 South Mitchell Manor Cir
        PINECREST, FL 33156


        PINEDA LAWN SERVICES INC.
        80 W 38 STREET
        HIALEAH, FL 33012


        PRESS ASSOCIATION INC.
        P.O. Box 414212
        P.O. Box 414212
        Boston, MA 02241-4212


        RASCO KLOCK PEREZ & NIETO P.L.
        2555 Ponce de Leon Blvd
        Suite 600
        Coral Gables, FL 33134


        RAUL TORRES
        1020 W 33 St.
        Hialeah, FL 33012
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 24 of 28



        RCN TELEVISION
        Avenida de las America
        #65-82 A.A.
        Bogota, Colombia


        REBECA C. DE LA FE
        3641 NW 100 Street
        Miami, FL 33147


        REGUS MANAGEMENT GROUP LLC
        P.O. Box 842456
        Dallas, TX 75284-2456


        REINALDO BECERRA
        1170 Vero Ave
        Clewiston, FL 33440


        RESTORED DIGITAL SOLUTIONS, LLC
        1801 NW 135th Ave
        Suite 900
        Miami, FL 33182


        REVEREND PEDRO MARTINEZ LLC
        50 BISCAYNE BLVD
        APT 1806
        MIAMI, FL 33132


        RICARDO ANTONIO BECERRA ALADRO
        1012 NW 102 PL
        Miami, FL 33172


        ROBERTO A. HEREDIA RUBIO
        5750 Collins Avenue
        Apt 9E
        Miami Beach, FL 33140


        ROTO ROOTER SERVICES CO.
        5672 Collections Center Dr.
        Chicago, IL 60693


        ROWLAND COFFEE ROASTERS
        9290 NW 112 Avenue
        Ste #15
        Miami, FL 33178
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 25 of 28



        SHARP ELECTRONIC CORPORATION
        DBA SHARP BUSINESS SYSTEMS DEPT.
        AT 40249
        ATLANTA, GA 31192-0249


        SHERJAN BROADCASTING
        21050 NE 38th Ave.
        #2304
        Aventura, FL 33180


        STAPLES ADVANTAGE
        DEPT ATL
        PO BOX 105748
        ATLANTA, GA 30348-5748


        STRATA MARKETING INC.
        23608 Network Place
        Chicago, IL 60673-1236


        TASC
        P.O. Box 88278
        Milwaukee, WI 53288-0001


        TAYLOR REESE & ASSOCIATES INC.
        299 Alhambra Circle
        Suite 223
        Coral Gables, FL 33134


        TECH AIR OF SOUTH FLORIDA
        4500 SW 74th Ave.
        Miami, FL 33155


        THE BRAIN NIMENS CORPORATION LIMITED
        105 West Beaver Creek RD
        Suite 5
        Richmond Hill, Ontario L4B 1C6


        THE MIAMI HERALD
        PO BOX 019140
        MIAMI, FL 33101


        THE MIRRAM GROUP
        5030 Broadway
        Suite 807
        New York, NY 10034
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 26 of 28



        THE PAUL GROUP INC.
        15349 SW 38 Street
        Davie, FL 33331


        THOMSON REUTERS (MARKETS) LLC
        P.O. Box 415983
        BOSTON, MA 02241


        THYSSENKRUPP ELEVATOR
        PO Box 3796
        CAROL STREAM, IL 60132-3796


        TIAA COMMERCIAL FINANCE INC.
        P.O. Box 911608
        Denver, CO 80291-1608


        TIME WARNER CABLE
        P.O. Box 11820
        Newark, NJ 07101-8120


        TOP ENTERTAINMENT
        13001 NW 107th Ave.
        HIALEAH GARDENS, FL 33018


        TRIANGLE FIRE INC
        2924 NW 109 Ave
        Miami, FL 33172


        TRULY NOLEN OF AMERICA INC.
        5931 Hallandale Beach Blvd
        West Park, FL 33023-5245


        U.S. Securities & Exchange Commission
        Office of Reorganization
        950 E. Paces Ferry Rd. NE
        Suite 900
        Atlanta, GA 30326-1382


        United States Trustee
        51 SW 1st Ave
        Miami, FL 33130


        UNITED TELEPORTS INC.
        19000 NE 5th Avenue
        Miami, FL 33179
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 27 of 28



        UNIVERSAL MUSIC LLC
        6974 NW 12 Street
        Miami, FL 33126


        UPS
        P.O.BOX 7247-0244
        PHILADELPHIA, PA 19170


        US Attorney's Office
        99 NE 4th Street
        Miami, FL 33132


        VALUE ADDED SOLUTIONS & SERVICES INC.
        18071 Biscayne Blvd.
        Suite 1001
        Aventura, FL 33160


        VERIZON
        PO BOX 15124
        ALBANY, NY 12212-5124


        VERIZON
        P.O. Box 660108
        Dallas, TX 75266-0108


        VITAMEDIX LLC
        20801 Biscayne Blvd
        Suite 403
        Aventura, FL 33180


        VSN NORTH AMERICA, INC.
        5201 Blue Lagoon Dr.
        Floor 8, Ste 890
        Miami, FL 33126


        WASTE MANAGEMENT
        PO BOX 105453
        ATLANTA, GA 30348-5453


        WATERMAIN
        8549 NW 68 Street
        Miami, FL 33166
Case 19-16976-AJC   Doc 1   Filed 05/28/19   Page 28 of 28



        WEATHERCENTRAL
        PO BOX 935565
        Atlanta, GA 31193-5565


        WIDEORBIT INC.
        DEPT CH 17518
        PALATINE, IL 60055-7518


        WRIGHT NATIONAL FLOOD INSURANCE COMPANY
        P.O. Box 33070
        St. Petersburg, FL 33733-8070


        YANELYS APARICIO
        141 E 56 Street
        Hialeah, FL 33013-1227


        ZORAIDA ALFARO LAGO
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        Miami, FL 33126
